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 7                         UNITED STATES DISTRICT COURT
 8                      SOUTHERN DISTRICT OF CALIFORNIA
 9                     (HONORABLE JANIS L. SAMMARTINO)
10   UNITED STATES OF AMERICA,                  CASE NO.: 22-cr-01224-JLS
11                       Plaintiff,
12         v.
                                                ORDER GRANTING JOINT MOTION
13   JOSE ANTONIO NAVARRO                       TO CONTINUE MOTION
     MUNIZ,                                     HEARING/TRIAL SETTING
14
                         Defendant.
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17         For good cause shown and upon joint motion of the parties, IT IS HEREBY
18   ORDERED that the Motion Hearing/Trial Setting currently set for July 1, 2022, at
19   1:30 p.m. be continued to August 5, 2022, at 1:30 p.m.. It is further ordered that, for
20   the reasons stated in the parties’ motion, time is excluded under the Speedy Trial Act.
21         IT IS SO ORDERED.
22   Dated: June 23, 2022
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